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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                     8:04CR535
                                                )
               v.                               )
                                                )
GREG M. DARLING,                                )                      ORDER
                                                )
                      Defendants.               )
                                                )


       This matter comes on to consider the government’s motion for Rule 35 hearing. Filing
No. 102. Having considered the matter,
       IT IS ORDERED that:
       1. A hearing on the government’s motion is scheduled before the undersigned United
States district judge on October 4, 2005, at 1:00 p.m. in Courtroom No. 3, Roman L. Hruska
U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
       2. Counsel for the defendant, if previously appointed pursuant to the Criminal Justice
Act, is reappointed to represent the defendant for purposes of the Rule 35(b) motion. If
retained, counsel for the defendant remains as counsel for the defendant until the Rule 35(b)
motion is resolved or until given leave to withdraw.
       3. The Marshal is directed to return the defendant to the district for this hearing.
       DATED this 20th day of September, 2005.

                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
